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through their respective Attorneys General, petition this Court for a temporary restraining order

and preliminary injunction enjoining Amgen Inc. (“Amgen”) and its subsidiaries from

consummating its proposed acquisition (the “Proposed Acquisition”) of Horizon Therapeutics

plc (“Horizon”). Plaintiffs seek this relief pursuant to Section 13(b) of the Federal Trade

Commission Act (“FTC Act”), 15 U.S.C. § 53(b), and Section 16 of the Clayton Act, 15 U.S.C.

§ 26. Absent such relief, Amgen and Horizon (collectively, “Defendants”) have represented that

they would be free to consummate the Proposed Acquisition after 11:59 PM Eastern Time on

May 21, 2023.

       Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Commission, whenever it

has reason to believe that a proposed merger is unlawful, to seek preliminary injunctive relief to

prevent consummation of a merger until the Commission has had an opportunity to issue an

administrative complaint, and if such complaint is issued, adjudicate the merger’s legality in an

administrative proceeding. Plaintiffs therefore seek this preliminary relief “pending the issuance of

a[n administrative] complaint by the Commission and until such complaint is dismissed by the

Commission or set aside by the court on review, or until the order of the Commission made

thereon has become final.” 15 U.S.C. § 53(b)(2). Pursuant to 15 U.S.C. § 53(b)(2), such an

administrative complaint must be filed no later than 20 days after this Court grants a temporary

restraining order.

       A temporary restraining order enjoining the Proposed Acquisition is necessary to

preserve this Court’s ability to provide full and effective relief after considering Plaintiffs’

motion for a preliminary injunction. Preliminary injunctive relief is imperative to preserve the

status quo and to protect competition “pending the issuance of a[n administrative] complaint by

the Commission,” and if such complaint is issued, while the Commission adjudicates whether

the Proposed Acquisition is unlawful. Allowing the Proposed Acquisition to proceed would

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harm competition and consumers and undermine the Commission’s ability to remedy the

anticompetitive effects of the Proposed Acquisition if the Commission issues an administrative

complaint and the Proposed Acquisition is found unlawful after a full administrative trial on the

merits and any subsequent appeals.

                                     NATURE OF THE CASE

       1.      Amgen, one of the world’s largest biopharmaceutical companies, proposes to

acquire Horizon, which currently enjoys a monopoly on the medicines that treat thyroid eye

disease (“TED”) and chronic refractory gout (“CRG”). If consummated, the Acquisition would

enable Amgen to leverage its portfolio of blockbuster drugs to foreclose actual or potential

rivals to Horizon’s top-selling medications, thereby substantially lessening competition in the

markets for the sale of FDA-approved drugs to treat TED and CRG. Additionally, or in the

alternative, the Acquisition would tend to create a monopoly in those same markets.

       2.      Through a number of acquisitions, Amgen has grown into one of the largest

biopharmaceutical companies in the world. Amgen purchased the rights to its top-selling drug,

Enbrel, through a roughly $16 billion acquisition of Immunex Corporation in 2002. It bought the

rights to its third-best selling drug, Otezla, through a $13.4 billion acquisition in 2019. Its

proposed acquisition of Horizon, valued at $27.8 billion, would be by far Amgen’s largest ever

purchase. Each acquisition has successively expanded Amgen’s product portfolio, thereby

increasing its leverage in negotiations over its products’ availability and reimbursement rates.

       3.      Negotiations with pharmacy benefit managers (“PBMs”) and payers (i.e., health

plans or plan sponsors) are crucial to Amgen, as these entities’ formulary and utilization

management decisions effectively determine which medications patients can access. Amgen

often gives these entities substantial rebates in exchange for favorable formulary positions for its

drugs. In other words, Amgen pays these entities to give its drugs favorable access at the expense
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of drugs offered by its rivals.

        4.      Amgen does not limit itself to single-product rebate agreements. Instead, a second

prong of the company’s negotiating strategy involves leveraging its broad drug portfolio,

including the drugs it acquires. For example, one tactic Amgen employs is providing cross-

market bundles or bundled rebates. Through this strategy, Amgen provides greater rebates on one

or more of its blockbuster products to secure favorable formulary placement for other medications

in different product markets. Due to the enormous sales and consistent volume of Amgen’s

blockbuster drugs—such as Enbrel, which last year generated over $4 billion in global sales—

even small enhancements to rebates can ensure payers accept such contracts. Since 2020, Amgen

has contracted for multiple cross-market drug bundles with some of the largest PBMs,



        5.      Cross-market rebating and bundling can also block smaller rivals from being able

to compete on the merits. For example, Amgen has offered additional rebates on           to payers

who agree to grant exclusive or preferred formulary status to its

        . A complaint pending in federal court, which recently survived a motion to dismiss,

alleges that these cross-market bundles foreclosed competition and entrenched Repatha’s

monopoly position in violation of Sections 1 and 2 of the Sherman Act and Section 3 of the

Clayton Act.

        6.      If permitted to acquire Horizon, Amgen would have the ability and incentive to

sustain and entrench the monopolies of Horizon’s drugs using similar multi-product contracting

strategies. Those strategies would be especially appealing for two drugs: (a) Tepezza, the only

FDA-approved treatment for TED, which in 2022 generated $1.96 billion, or 54% of Horizon’s

net sales; and (b) Krystexxa, the only FDA-approved treatment for CRG, which in 2022

generated $716 million, or 19.7% of Horizon’s net sales. Amgen expects both drugs to grow
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significantly in the coming years, with Tepezza projected to achieve peak sales of approximately

$           annually.

       7.       Tepezza is a monopoly product. As Horizon recognizes in its 2022 SEC Form 10-

K, “[a]s the only FDA-approved medication for the treatment of TED, TEPEZZA has no direct

approved competition.” Krystexxa occupies a similar monopolistic position. “As the only FDA-

approved medication for the treatment of [CRG], KRYSTEXXA faces limited direct

competition,” the Horizon filing boasts. These monopoly positions have enabled Horizon to

charge exorbitant prices. A six-month course of treatment of Tepezza is typically priced at

around $350,000. Krystexxa has an annual wholesale acquisition cost of around $650,000.

       8.       These monopoly positions have enabled Horizon to charge exorbitant prices. A

six-month course of treatment of Tepezza is typically priced at around $350,000. Krystexxa has

an annual wholesale acquisition cost of around $650,000.

       9.       But Horizon’s TED and CRG market dominance is not slated to last forever.

Instead, the company expects to face increasing competition from clinical-stage rivals in the

coming years. As an internal Horizon presentation observes, the

                                                                        Amgen, too, recognizes

these entrants as serious threats and anticipates that they could capture substantial market share

from Horizon’s drugs if they successfully enter. This emerging competition promises to generate

a host of benefits for patients who suffer from TED and CRG, for the doctors who prescribe

treatments for the conditions, and for patients, employers, and health plans that ultimately pay

for the medications.

       10.      Amgen’s acquisition of Horizon, however, threatens to suppress that emerging

competition and sustain and entrench Horizon’s dominance in the markets for FDA-approved

drugs to treat TED and CRG. The most likely strategy through which Amgen could accomplish

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that goal is by leveraging its existing portfolio of blockbuster drugs in multi-product contracts

with PBMs and payers. Specifically, the Proposed Acquisition would give Amgen the ability and

incentive to insulate Tepezza and Krystexxa from competitive threats. Amgen’s history suggests

this would likely include conditioning rebates to PBMs or payers on one or more of its must-

carry blockbuster drugs in exchange for the PBMs or payers denying coverage to, or otherwise

disfavoring, actual or potential rivals to Tepezza and Krystexxa.

       11.     Two market trends will likely increase Amgen’s post-Acquisition ability to

entrench Tepezza’s and Krystexxa’s monopolies through these multi-product contracting

strategies. First, in large part due to recent consolidation, the nation’s largest PBMs and payers

are now vertically integrated. In turn, these entities are increasingly employing cross-benefit

management strategies that involve integrated management of drugs under the pharmacy benefit,

under which many of Amgen’s products, such as Enbrel, are covered, and the medical benefit,

under which Horizon’s Tepezza and Krystexxa are covered.

       12.     This market reality may strengthen Amgen’s future ability to implement multi-

product contracts linking its pharmacy benefit drugs with Tepezza or Krystexxa. As an internal

Horizon presentation observes, these vertically integrated payer/PBM entities are increasingly

seeking

                                                                        And an Amgen document,

in discussing one of these large integrated entities, recognizes that



       13.     A second emerging market dynamic will further increase Amgen’s post-

Acquisition leverage to entrench Tepezza’s monopoly: Horizon is currently developing a

subcutaneously administered version of Tepezza, which it estimates will receive FDA approval



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                                                     The planned introduction of this subcutaneous

Tepezza formulation promises to further lower Amgen’s logistical and economic barriers to

establishing multi-product contracts between its pharmacy benefit products, like Enbrel, and

Tepezza.

        14.    There are no countervailing factors sufficient to offset the likelihood of

competitive harm from the Proposed Acquisition. Neither entry nor expansion by other market

participants would be timely, likely, or sufficient in its magnitude, character, and scope to

deter or counteract the Proposed Acquisition’s anticompetitive harm.

        15.    Defendants cannot show cognizable, merger-specific efficiencies that would

offset the reasonably probable and substantial competitive harm resulting from the Proposed

Acquisition.

        16.    On May 16, 2023, the Commission authorized its staff to file this Complaint

seeking preliminary relief pursuant to Section 13(b) of the FTC Act, 15 U.S.C. § 53(b). In doing

so, the Commission determined that it has reason to believe that the Proposed Acquisition would

violate the Clayton Act and the FTC Act. Plaintiffs are entitled to preliminary relief in this Court

because of their likelihood of success on the merits and the weight of the equities. To succeed on

the merits, Plaintiffs must prove that the Proposed Acquisition violates Section 7 of the Clayton

Act, which prohibits mergers the effect of which “may be substantially to lessen competition, or

to tend to create a monopoly.” For the reasons described below, Plaintiffs are likely to succeed in

proving an antitrust violation, and the equities weigh strongly in favor of enforcing the antitrust

laws.

        17.     Preliminary injunctive relief restraining Defendants from proceeding with the

Proposed Acquisition is necessary to prevent interim harm to competition “pending the issuance

of a[n administrative] complaint by the Commission,” and if such complaint is issued, during
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any subsequent administrative proceeding. Absent preliminary relief, Defendants can close the

Proposed Acquisition and combine Amgen’s and Horizon’s operations. Allowing Defendants to

consummate the Proposed Acquisition before the Commission issues an administrative

complaint, and before any administrative proceeding has concluded, is likely to cause immediate

harm to competition and consumers and would undermine Plaintiffs’ ability to remedy the

anticompetitive effects of the Proposed Acquisition if it is found unlawful after a full trial on the

merits and any subsequent appeals.

       18.      Defendants have stipulated to a temporary restraining order enjoining the

Proposed Acquisition while the Court considers Plaintiffs’ application for a preliminary

injunction. Unless restrained by the Court, Defendants will be free to consummate the Proposed

Acquisition on or after 11:59 PM Eastern Time on October 31, 2023.

                                  JURISDICTION AND VENUE

       19.      This Court’s jurisdiction arises under Section 13(b) of the FTC Act, 15 U.S.C.

§ 53(b), and under 28 U.S.C. §§ 1331, 1337, and 1345. This is a civil action arising under Acts of

Congress protecting trade and commerce against restraints and monopolies and is brought by an

agency of the United States authorized by an Act of Congress to bring this action.

       20.      Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), provides in pertinent part:

Whenever the Commission has reason to believe

             (1) that any person, partnership, or corporation is violating, or is about to violate, any
                 provision of law enforced by the Federal Trade Commission, and

             (2) that the enjoining thereof pending the issuance of a complaint by the Commission
                 and until such complaint is dismissed by the Commission or set aside by the court
                 on review, or until the order of the Commission made thereon has become final,
                 would be in the interest of the public – the Commission by any of its attorneys
                 designated by it for such purpose may bring suit in a district court of the United
                 States to enjoin any such act or practice. Upon a proper showing that weighing the
                 equities and considering the Commission’s likelihood of ultimate success, such
                 action would be in the public interest, and after notice to the defendant, a temporary
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                 restraining order or a preliminary injunction may be granted without bond[. ]. . .

        21.      In conjunction with the Commission, Plaintiff States bring this action for a

preliminary injunction under Section 16 of the Clayton Act, 15 U.S.C. § 26, to prevent and restrain

Horizon and Amgen from violating Section 7 of the Clayton Act, 15 U.S.C. § 18, pending the

Commission’s administrative trial. Plaintiff States have the requisite standing to bring this action

because the Transaction would cause antitrust injury in each of the markets in their respective

states for (1) the sale of FDA-approved drugs to treat TED and (2) the sale of FDA-approved drugs

to treat CRG.

        22.      Section 16 of the Clayton Act, 15 U.S.C. § 26, provides in pertinent part:

                Any person, firm, corporation, or association shall be entitled to sue for and have
                injunctive relief, in any court of the United States having jurisdiction over the
                parties, against threatened loss or damage by a violation of the antitrust laws,
                including section 13, 14, 18 and 19 of this title, when and under the same
                conditions and principles as injunctive relief against threatened conduct that will
                cause loss or damage is granted by courts of equity, under the rules governing such
                proceedings, and upon the execution of proper bond against damages for an
                injunction improvidently granted and a showing that the danger of irreparable loss
                or damage is immediate, a preliminary injunction may issue . . . .

        23.      Defendants are, and at all relevant times have been, engaged in activities in or

affecting “commerce” as defined in Section 4 of the FTC Act, 15 U.S.C. § 44, and Section 1 of the

Clayton Act, 15 U.S.C. § 12. Defendants also are, and at all relevant times have been, engaged in

commerce in each of the Plaintiff States.

        24.      The FTC Act, 15 U.S.C. § 53(b), authorizes nationwide service of process, and

personal jurisdiction exists where service is effected pursuant to federal statute. Fed. R. Civ. P.

4(k)(1)(C). Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391(c)(3), as

well as under 28 U.S.C. § 1391(c)(2). Defendants are found, reside, and/or transact business in this

state and district, and are subject to personal jurisdiction therein.

        25.      Assignment to the Eastern Division is proper. This action arises in Lake County

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because a substantial part of the events giving rise to these claims occurred in Lake County, where

Defendant Horizon’s U.S. headquarters is located.

                   THE PARTIES AND THE PROPOSED ACQUISITION

         26.   Plaintiff, the Federal Trade Commission, is an agency of the United States

government, established, organized, and existing pursuant to the FTC Act, 15 U.S.C. §§ 41 et

seq., with its principal offices at 600 Pennsylvania Avenue, N.W., Washington, D.C. 20580. The

Commission is vested with authority and responsibility for enforcing, inter alia, Section 7 of the

Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45.

         27.   Plaintiff, the State of California, is a sovereign state of the United States. This

action is brought by and through its Attorney General, Rob Bonta, who is the chief law

enforcement officer of the State, with the authority to bring this action on behalf of the state and

as parens patriae on behalf of the citizens, general welfare, and economy of California pursuant

to Section 16 of the Clayton Act, 15 U.S.C. § 26. The Office of the Attorney General of the

State of California has its principal offices at 300 S. Spring Street, Suite 1702, Los Angeles, CA

90013.

         28.   Plaintiff, the State of Illinois, is a sovereign state of the United States. This action

is brought by and through its Attorney General, Kwame Raoul, who is the chief law

enforcement officer of the State, with the authority to bring this action on behalf of the state

pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26. The Office of the Attorney General

of the State of Illinois has its principal offices at 100 West Randolph Street, Chicago, Illinois

60601.

         29.   Plaintiff State of Minnesota is a sovereign state. Keith Ellison is the Attorney

General of the State of Washington, the chief legal officer for the state, and brings this action on

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behalf of the state pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26. The Office of the

Attorney General of the State of Minnesota has its principal offices at 445 Minnesota Street,

Saint Paul, Minnesota 55101.

       30.     Plaintiff State of New York is a sovereign state. Letitia James is the Attorney

General of the State of New York, the chief legal officer for the state, and brings this action on

behalf of the state pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26. The Office of the

Attorney General of the State of New York has its principal offices at The Capitol, Albany, NY

12224-0341.

       31.     Plaintiff State of Washington is a sovereign state. Robert W. Ferguson is the

Attorney General of the State of Washington, the chief legal officer for the state, and brings this

action on behalf of the state pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26. The

Office of the Attorney General of the State of Washington has its principal offices at 1125

Washington St. SE, Olympia, WA 98504.

       32.     Plaintiff State of Wisconsin is a sovereign state whose principal offices are

located at the State Capitol in Madison, Wisconsin. Joshua L. Kaul is the Attorney General of

the State of Wisconsin, the chief legal officer for the state, with the authority to bring this action

on behalf of the state pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26. The Wisconsin

Attorney General has his principal offices at 17 West Main Street, Madison, Wisconsin 53707.

       33.     Defendant Amgen is a corporation organized, existing, and doing business under

and by virtue of the laws of the State of Delaware with its principal executive offices located at

One Amgen Center Drive, Thousand Oaks, California. Amgen is a biotechnology company that

develops, manufacturers, and delivers human therapeutics. In 2022, Amgen had global product

sales of about $24.8 billion (and total revenues of about $26.3 billion). The United States is


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Amgen’s largest market, representing approximately 72% of its sales. Amgen’s current product

portfolio includes 27 approved drugs, nine of which generated 2022 sales in excess of $1 billion.

Three drugs—Enbrel, Prolia, and Otezla—accounted for 41% of Amgen’s total sales in 2021.

Amgen’s research and development efforts are focused primarily on three therapeutic areas:

(1) inflammation, (2) oncology and hematology, and (3) cardiovascular and metabolic diseases.

       34.     Defendant Horizon is a public limited company organized, existing, and doing

business under and by virtue of the laws of Ireland with its principal executive offices located at

70 St. Stephen’s Green, Dublin 2, D02 E2X4, Ireland. Horizon is a global biotechnology

company focused on the discovery, development, and commercialization of medicines that treat

rare, autoimmune, and severe inflammatory diseases. Horizon markets and distributes eleven

drug products in the United States through its wholly owned subsidiary, Horizon Therapeutics

USA, Inc. Horizon’s U.S. headquarters is located in Deerfield, Illinois. The company’s two

leading marketed drugs are Tepezza and Krystexxa. The two drugs accounted for approximately

74% of Horizon’s approximately $3.6 billion in net sales in 2022, with Tepezza generating $1.96

billion and Krystexxa netting $716 million.

       35.     Pursuant to the Agreement, dated December 11, 2022, Amgen agreed to acquire

all of the issued and ordinary share capital of Horizon through a newly formed, wholly owned

subsidiary of Amgen for $116.50 per share in cash. The total value of the Proposed Acquisition

is approximately $28 billion.

       36.     Unless this Court grants Plaintiff’s request for a preliminary injunction,

Defendants are free to close the proposed Acquisition after 11:59 PM Eastern Time on

October 31, 2023.

                          THE RELEVANT PRODUCT MARKETS

       A. Drugs Approved to Treat Thyroid Eye Disease
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          37.   A relevant line of commerce in which to analyze the effects of the Acquisition is

the sale of FDA-approved drugs to treat TED. As Horizon describes in its annual report, “TED

is a serious, progressive and vision-threatening rare autoimmune condition. While TED often

occurs in people living with hyperthyroidism or Graves’ disease, it is a distinct disease that is

caused by autoantibodies activating an IGF-1R-mediated signaling complex on cells within the

retro-orbital space. This leads to a cascade of negative effects, which may cause long-term,

irreversible eye damage. As TED progresses, it causes serious damage—including proptosis

(eye bulging), strabismus (misalignment of the eyes) and diplopia (double vision)—and in some

cases can lead to blindness. Historically, patients have had to live with TED until the

inflammation subsides, after which they are often left with permanent and vision-impairing

consequences and may require multiple surgeries that do not completely return the patient to

their pre-disease state.”

          38.   The annual incidence of TED in the United States is approximately 19 in 100,000

people, which corresponds to a potential patient population of over 60,000 patients. Roughly

20,000 patients suffer from moderate-to-severe acute TED each year.

          39.   In January 2020, the FDA approved Horizon’s Tepezza for the treatment of TED.

Tepezza (teprotumumab-trbw) is a fully human monoclonal antibody and a targeted inhibitor of

the insulin-like growth factor-1 receptor, or IGF1R. Tepezza is administered to patients

intravenously by a healthcare provider, typically in an outpatient infusion center or a doctor’s

office.

          40.   As the first and only drug approved by the FDA to treat TED, Tepezza has no

direct competition. The FDA granted Tepezza an Orphan Drug designation in January 2020.

Under the Orphan Drug Act, Pub. L. No. 97-414, and applicable FDA regulations, 21 C.F.R.


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§ 316, a manufacturer developing a treatment for a rare unmet disease or condition can seek

Orphan Drug designation and obtain marketing exclusivity, such that no approval will be given

to a subsequent sponsor of the same drug for the same use or indication for seven years. In its

press release announcing its approval of Tepezza, the FDA declared Tepezza “the first drug

approved for the treatment of thyroid eye disease” and noted the lack of viable alternative

treatment options to TED, explaining: “Today’s approval marks an important milestone for the

treatment of thyroid eye disease. Currently, there are very limited treatment options for this

potentially debilitating disease. This treatment has the potential to alter the course of the disease,

potentially sparing patients from needing multiple invasive surgeries by providing an alternative,

non-surgical treatment option.”

        41.     Because of its unique characteristics, Tepezza is not reasonably interchangeable

with other treatments. Before Tepezza was approved, physicians used other therapies, such as

corticosteroid medications or surgical procedures, to alleviate some of the symptoms of TED.

However, while these other therapies could reduce or delay symptoms for some patients, they

have not proved effective in treating the underlying disease—and they carry with them the

potential for significant side effects. For example, while intravenous steroids may be used off-

label to treat the symptoms of TED, their effectiveness is temporary for the vast majority of

patients, who then move on to other treatments, usually Tepezza, when their symptoms reappear.

In addition, long-term steroid use is associated with side effects that can present significant

safety concerns. FDA-approved drugs to treat TED are also preferred over surgical procedures,

which are considered less efficacious and can be extremely invasive.

        42.     The lack of reasonable substitutes for FDA-approved drugs to treat TED is also

demonstrated by the lack of cross-elasticity of demand between Tepezza and other TED

therapies. Since its market launch, Tepezza has achieved significant sales growth, even though it
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is priced significantly higher than alternative TED treatments. The wholesale acquisition cost for

a single vial of Tepezza is almost $15,000, and a full course of treatment of Tepezza can cost

over $350,000. By comparison, a full course of treatment using steroids costs approximately

$4,000, or less than a third of the cost of a single vial of Tepezza. Surgical procedures similarly

cost several thousand dollars. The distinct difference in price between Tepezza and other

medications—and the fact that Horizon’s annual price increases for Tepezza has not spurred

switching to alternative products—show that there is little cross-elasticity of demand between

Tepezza and alternative TED therapies.

       43.     Industry participants, including, but not limited to, the Defendants, recognize the

existence of a separate and distinct market for FDA-approved drugs to treat TED in their regular

course of business, referring to it as the “TED market” or “Tepezza market.” Notably, when the

parties and other firms identify participants in this market, they focus on Tepezza and other

potential future prescription drugs in the development pipeline, rather than alternative options

such as off-label steroid treatments.

       44.     The sale of FDA-approved drugs to treat TED is therefore a line of commerce and

a relevant product market within the meaning of the Clayton Act.

       B. Drugs Approved to Treat Chronic Refractory Gout

       45.     A relevant line of commerce in which to analyze the effects of the Acquisition is

the sale of FDA-approved drugs to treat CRG in adult patients. CRG occurs in patients who have

failed to normalize serum uric acid and whose signs and symptoms are inadequately controlled

with xanthine oxidase inhibitors (“XOIs”) at the maximum medically appropriate dose or for

whom these drugs are contraindicated.

       46.     Gout is one of the most common forms of inflammatory arthritis and is associated

with multiple comorbidities. Gout can be assessed by a simple blood test for the amounts of uric
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acid in the blood (sUA levels). Typically, when uric acid levels are greater than 6.8 milligrams

per deciliter, urate will crystallize and deposit. These hard deposits, known as tophi, may occur

anywhere in the body, including joints as well as organs, such as the kidney and heart. When

undertreated, tophi often lead to bone erosions and loss of functional ability. Gout flares, a

common characteristic of CRG, are intensely painful. Of the 9.5 million gout sufferers in the

United States, more than 100,000 patients may have CRG. A systemic disease, CRG frequently

causes crippling disabilities and significant joint damage.

       47.     Marketed by Horizon, Krystexxa (pegloticase injection) is the first and only FDA-

approved drug for CRG. Krystexxa is a PEGylated uric acid specific enzyme that is administered

intravenously in an outpatient infusion center or physician’s office by healthcare providers.

       48.     Krystexxa was first granted an Orphan Drug designation by the FDA in

September 2010. There are still no other FDA-approved drugs to treat CRG on the market today.

Although Horizon’s Orphan Drug marketing exclusivity for Krystexxa expired in 2017,

Krystexxa’s composition of matter patent expires in           and its patent estate for Krystexxa

expires in       In July 2022, the FDA approved the supplemental Biologics License

Application, expanding the drug’s labeling to include Krystexxa co-administered with

methotrexate, an immunomodulatory therapy. The co-administration of Krystexxa with

methotrexate helps to reduce the development of anti-drug antibodies that can limit the efficacy

of the drug over time. By reducing the development of drug resistance, Krystexxa with

methotrexate helps CRG patients achieve greater recovery than Krystexxa alone. In clinical

studies, patients receiving the combination drug also experienced fewer infusion reactions.

Compared to previously available gout medications, Krystexxa has a unique mechanism of

action that can rapidly reverse disease progression. Unlike XOIs or uricosurics, which address

the over-production or under-excretion of uric acid, Krystexxa converts uric acid into allantoin,
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a water-soluble molecule that the body can more easily eliminate through urine. Renal excretion

of allantoin is significantly more efficient than uric acid excretion. Additionally, many chronic

kidney disease (“CKD”) patients suffer from gout, and the disease tends to be more prevalent as

CKD advances. Whereas XOI gout therapies can place additional burden on the kidneys and

have dosing limitations, Krystexxa has been proven effective and safe for CKD patients with

CRG without the need to adjust dosing.

       49.     As the only FDA-approved medication for the treatment of CRG, Krystexxa does

not compete directly with other drugs. By definition, patients with CRG have a condition that is

uncontrolled by other medications, including XOIs and uricosurics, or for whom these other

drugs are contraindicated. Therefore, there are no other treatments that are reasonable substitutes.

       50.     Industry participants, including, but not limited to, the Defendants, recognize the

existence of a separate and distinct market for CRG. Internal documents from Horizon and its

potential competitor Selecta Biosciences (“Selecta”) indicate that FDA-approved drug treatment

for CRG is the relevant market for Krystexxa. A Horizon presentation from May 2021 on the

gout competitive pipeline explicitly states that



       51.     There is little cross-elasticity of demand between Krystexxa and other gout

medications. Krystexxa is priced significantly higher than other gout medications, with an annual

wholesale acquisition cost of approximately $650,000. Drug treatments for conventional gout

have generics available. Colchicine, for example, has a retail cost of approximately $183 per

month, with an even lower cost to the patient.

       52.     The sale of FDA-approved drugs to treat CRG is therefore a line of commerce and

a relevant product market within the meaning of the Clayton Act.



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                         THE RELEVANT GEOGRAPHIC MARKET

          53.   The United States is the relevant geographic area in which to assess the

competitive effects of the Proposed Acquisition in the relevant lines of commerce. The FDA

regulates the production, research, development, testing, manufacture, marketing, and promotion

of drug products in the United States. A company must obtain FDA approval before marketing a

drug product in the United States. Accordingly, drug products sold outside the United States, but

not approved for sale in the United States, do not provide viable alternatives for customers.

          54.   Performing the necessary clinical trials and navigating the FDA approval process

may take as long as a decade for branded drugs such as those to treat TED and CRG. Thus,

medicines sold outside the United States that lack FDA approval are not competitive alternatives

for U.S. consumers, who cannot turn to these products even if the prices for drugs to treat TED

or CRG currently available in the United States increase significantly.

          55.   Indeed, the Defendants consider the United States to be a distinct market for drugs

to treat TED and CRG in their regular course of business due to, among other reasons, its

separate regulatory and approval process.

                                    MARKET STRUCTURE

          A. Thyroid Eye Disease Drugs

          56.   As the only FDA-approved medication for the treatment of TED, Horizon’s

Tepezza does not face direct competition from any other approved medication in the United

States.

          57.   While Tepezza currently is administered by a healthcare provider as an

intravenous infusion, typically in an outpatient infusion center or a doctor’s office, Horizon is

researching and developing potential subcutaneous formulations of the product that a patient


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could self-administer. The leading project, which involves subcutaneous

                            , is currently in Phase 1 clinical trials and could become available in

the United States in                        , pending further clinical study. Horizon is also

working with Xeris Pharmaceuticals, Inc., to develop a subcutaneous injection that could be self-

administered                         . Should that product’s clinical trials be successful, it could

launch in the United States by

         58. Horizon documents recognize that the

                                                                as new products (that are

  primarily designed to be injected subcutaneously) are introduced to the market:




       59.     For example, although it currently does not offer a commercially administered

product, Viridian Therapeutics, Inc. (“Viridian”) is advancing multiple candidates through
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clinical programs for the treatment of patients with TED that could threaten Tepezza’s

monopoly. It has initiated a Phase 3 clinical trial for its leading candidate, VRDN-001, in

patients with active TED. VRDN-001, like Tepezza, is a monoclonal antibody that inhibits the

activity of a cell surface receptor called insulin-like growth factor-1 receptor (“IGF-1R”) and

would be administered by a healthcare provider intravenously. Viridian is also evaluating

VRDN-001 in a Phase 2 proof-of-concept trial in patients with chronic TED. Horizon forecasts

that VRDN-001 could be approved to treat patients with active TED in

       60.     Horizon internal documents project that VRDN-001 will



                      VRDN-001 early data suggests that it could have a higher proptosis

response rate and overall response rate than Tepezza after 6 weeks of treatment:




       61.     In addition to its program for intravenously administered VRDN-001, Viridian is

developing three subcutaneous products with the goal of providing a more conveniently


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administered therapy to patients with TED. Viridian is currently developing VRDN-002 and

VRDN-003 as IGF-1R monoclonal antibodies targeting IGF-1R for self-administered

subcutaneous injection for the treatment of TED. Depending on the outcome of the clinical trials,

Viridian projects that either VRDN-002 or VRND-003 will be approved in

          62.   Another example of a potential rival that may threaten Tepezza’s monopoly is

Immunovant, Inc. (“Immunovant”). Immunovant is a clinical-stage, publicly traded

biopharmaceutical company focused on treating autoimmune diseases using Batoclimab, a fully

human, monoclonal antibody targeting the neonatal fragment crystallizable receptor. Immunovant

is currently developing Batoclimab as a self-administered subcutaneous injection for treatment of

TED and expects Phase 3 top-line results to be available in the first half of 2025 and




          B. Chronic Refractory Gout Drugs

          63.   As the only FDA-approved medication for the treatment of CRG, Horizon’s

Krystexxa does not face direct competition from any other approved medication in the United

States.

          64.   Selecta initiated a Phase 3 clinical program of a candidate, SEL-212, for the

treatment of CRG. SEL-212 is a combination of Selecta’s ImmTOR immune tolerance platform

and a therapeutic uricase enzyme (pegadricase). Phase 3 clinical data from March 2023 for SEL-

212 shows that it has a favorable safety and durability profile compared to Krystexxa. Because of

SEL-212’s favorable differentiated profile in safety and durability, SEL-212 could threaten

Krystexxa’s monopoly when it comes to market as early as

                               ANTICOMPETITIVE EFFECTS

          65.   Post-Acquisition, Amgen will possess the ability and incentive to sustain and
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entrench its dominant positions in the markets for FDA-approved TED and CRG drugs by

leveraging its portfolio of blockbuster drugs, such as Enbrel, to foreclose or disadvantage future

rivals in these markets, raise their barriers to entry, and dissuade them from competing

aggressively.

       66.      Through the Proposed Acquisition, Amgen would gain the ability to leverage its

portfolio of blockbuster drugs to secure preferred (or even exclusive) access for Tepezza and/or

Krystexxa, thus foreclosing or disadvantaging Amgen’s rivals. Amgen’s product portfolio

includes nine different drugs that generated more than $1 billion in annual net sales in 2022,

and is in high demand by PBMs, payers, and physicians. This portfolio includes: Enbrel ($4.1

billion), Prolia ($3.6 billion), Otezla ($2.3 billion), Xgeva ($2.0 billion), Aranesp ($1.4

billion), Nplate ($1.3 billion), Repatha ($1.3 billion), Kyprolis ($1.2 billion), and Neulasta

($1.1 billion). Amgen also has several potential blockbuster drugs in its research and

development pipeline.

       67.      For example, Amgen’s Enbrel is a highly utilized drug indicated to treat

rheumatoid arthritis, psoriatic arthritis, moderate to severe plaque psoriasis, ankylosing

spondylitis, and moderate to severe juvenile idiopathic arthritis, with greater than 85% first-line

payer formulary coverage for commercial and Medicare Part D lives. Amgen offers significant

rebates (a percentage discount off of list price) to secure favorable positioning for Enbrel on

payers’ formularies. As of 2022, Enbrel was a                                        For example,

the PBM CVS Caremark and its GPO Zinc received approximately $                     in rebates from

Amgen for Enbrel in 2021. Another PBM, Express Scripts, received approximately $

in Enbrel rebates in 2021.

       68.      Because of its extensive and valuable portfolio of products, Amgen has a much

greater ability to offer cross-market bundled rebates than Horizon, which focuses primarily on

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rare disease markets. Indeed, internal business documents show Amgen employees recognize the

importance of the company’s broad inflammation product portfolio during payer contracting.

Describing this portfolio as the                                          they note that




             A 2021 internal Amgen “V&A Strategy” presentation suggested a

                                                       In the same document, Amgen boasts that




       69.       The prospect that Amgen could leverage its portfolio of blockbuster drugs to gain

advantages over potential rivals is not hypothetical. Amgen has deployed this very strategy to

extract favorable terms from payers to protect sales of Amgen’s struggling drugs. Specifically,

Amgen has engaged in cross-market bundling, which involves the conditioning of rebates (or

offering incremental rebates) on a product such as         in exchange for preferred formulary

placements for Amgen drugs in other, unrelated product markets. Since 2020, Amgen has

contracted for          separate cross-market drug bundles, including with the

                                                                                                  .

       70.       One cross-market bundle that Amgen negotiated with




                                                            In May 2022, Regeneron sued Amgen

in the District of Delaware alleging that Amgen’s rebating strategy was an anticompetitive

means to foreclose Regeneron’s Praluent from competing with Amgen’s Repatha and served to

entrench Repatha’s monopoly position. Earlier this year, the district court denied Amgen’s

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motion to dismiss the complaint. Regeneron Pharms., Inc. v. Amgen Inc., No. 22-697, 2023 WL

2587809 (D. Del. Mar. 21, 2023).

       71.     Such multi-product deals can also undermine competition by distorting how

PBMs and payers make decisions about which drugs to make available to patients. For example,

the sheer magnitude and/or predictability of the rebates that Amgen can offer on its high-volume

drugs as part of its cross-market bundles may ensure PBMs and payers grant Amgen’s products

preferred status. It also may be effectively impossible for smaller rivals, such as potential

entrants to the TED and CRG markets, to match the value of bundled rebates that Amgen would

be able to offer. Multiple payers agreed that cross-market bundling was a plausible outcome

post-Acquisition.

       72.     Post-Acquisition, Amgen would have the incentive to sustain the Horizon drugs’

monopolies using those same multi-product contracting strategies. An Amgen “Summary

Observations” deal document explained that



                                                               Tepezza generated $1.96 billion, or

54% of Horizon’s 2022 net sales, and Krystexxa generated $716 million, or 19.7% of Horizon’s

2022 net sales. Amgen expects both drugs to grow significantly in the coming years, with

Tepezza projected to achieve peak sales of approximately $             annually and Krystexxa

projected to achieve peak sales of up to $            annually. Thus, protecting and growing these

products’ revenues is core to Amgen’s deal rationale. With potentially billions of dollars at stake,

Amgen has ample incentive to preserve the monopoly positions of these two drugs.

       73.     While Tepezza and Krystexxa are each currently monopolies, their dominance in

the TED and CRG markets is threatened by potential entry in the coming years from rivals

developing competing drugs, especially Viridian’s TED drug. Amgen recognizes these entrants

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as serious threats, and models that they will take substantial revenue from Horizon’s drugs if

they successfully enter. For example, in November 2022, an Amgen business development plan

modeled both a                and a                   for the Acquisition. According to the

       model, there are several “key sensitivities” impacting valuation, including

                                                 The first key sensitivity impacting valuation is



                                              The second key sensitivity impacting valuation is

a



       74.     The most straightforward strategy through which Amgen could limit rivals’

market access is by using the same tactic it has utilized in the past to secure favorable formulary

placement for its drugs over competition—leveraging its existing portfolio of blockbuster drugs,

including         in multi-product contracts with payers. Indeed, three days after the Proposed

Transaction was announced, Amgen’s SVP of Finance emailed Amgen’s EVP and CFO:



                                                             which currently receives preferred

formulary placement                                      .

       75.     Specifically, Amgen post-Acquisition may have the ability to insulate Tepezza

and Krystexxa from competitive threats through strategies that include conditioning rebates on

one or more of its must-carry blockbuster drugs on payer agreements to deny coverage to, or

otherwise disfavor, potential or actual rivals to the two medications. That strategy would have

the effect of raising rivals’ barriers to entry and foreclosing them from effectively competing in

the markets for the sale of FDA-approved drugs to treat TED and CRG.

       76.     Payers typically rely on PBMs to negotiate their pharmacy benefit coverage and

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rebates, while medical benefit managers (often owned by the same PBMs) or health plans

themselves generally negotiate their medical benefit policies and rebates. Drugs reimbursed

through the pharmacy benefit are typically self-administered and dispensed through a retail or

specialty pharmacy, whereas drugs reimbursed through the medical benefit are typically

administered by a healthcare provider. Ultimately, the same payer determines coverage for

drugs that are reimbursed through its beneficiaries’ pharmacy and medical benefits and bears

the cost of the drug regardless of whether it is reimbursed through the pharmacy or medical

benefit.

       77.     Market trends promise to further heighten Amgen’s ability to implement multi-

product contracts that foreclose or disadvantage Tepezza’s and Krystexxa’s future rivals. In

particular, each of the three largest PBMs, in part due to recent consolidation, is now vertically

integrated with payers that manage patients’ medical benefits: OptumRx/United Healthcare,

CVS Caremark/Aetna, and Express Scripts/Cigna. Even non-vertically integrated PBMs are

increasingly able to combine pharmacy and medical benefit capabilities that allow them to

market cross-benefit management tools to their clients.

       78.     In light of this trend toward consolidation between pharmacy and medical benefit

managers, Defendants’ internal business documents forecast that cross-benefit management

practices will continue to grow. One Horizon document predicts that




                                                      Another Horizon document states that



                                                                                        This

growing trend towards cross-benefit management is removing a market structure that previously

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siloed pharmacy and medical benefits from one another, allowing payers to now evaluate drugs

regardless of whether they are reimbursed through a pharmacy or medical benefit. In turn, this

may further facilitate Amgen’s ability to implement cross-benefit bundles that link pharmacy

benefit drugs, like Enbrel, and medical benefit drugs, like Tepezza and Krystexxa.

       79.      Cross-benefit management aside, Tepezza’s interaction with PBMs is also

poised to grow because Horizon is developing a subcutaneous formulation of the drug that

promises greater ease of use relative to its current, intravenous mode of administration. The

company expects that this product will expand

                        Horizon projects that this subcutaneous formulation of Tepezza, for

which it expects to receive FDA approval as soon as

                                           That development may further facilitate Amgen’s

ability to establish multi-product contracts between Tepezza and its pharmacy benefit products,

like Enbrel, in turn raising Tepezza rivals’ barriers to entry and dissuading competition.

       80.     In short, due to these existing and emerging market trends, permitting Amgen—

with its portfolio of blockbuster drugs, contracting leverage, and existing multi-product

contracting strategies—to purchase Horizon would likely sustain and entrench Tepezza’s and

Krystexxa’s monopolies, as the combined firm would possess the ability and incentive to

foreclose or disadvantage any future rivals. As a result, the Proposed Acquisition could deter

future entry and deprive patients, doctors, and payers of the benefits of competition and access to

new treatments for two rare diseases.

                         LACK OF COUNTERVAILING FACTORS

       A. Entry Barriers

       81.     Entry into the relevant markets would not be timely, likely, or sufficient in

magnitude, character, and scope to deter or counteract the anticompetitive effects of the
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Proposed Acquisition. De novo entry would not be timely because the combination of drug

development times and FDA approval requirements is lengthy. In addition, no other entry

is likely to occur such that it would be timely and sufficient to deter or counteract the

competitive harm likely to result from the Proposed Acquisition.

       82.     For entry to occur, a potentially suitable molecule must be identified and

developed, usually through preclinical trials that focus on non-human subjects. The development

then progresses to clinical trials in humans. The preclinical and clinical trials can cost hundreds

of millions of dollars to complete, all without a guarantee of success. The Department of Health

and Human Services estimates that it can take $300-500 million and 14 years on average to

develop and bring a drug to market.

       83.     Assuming the clinical studies show a drug profile that is safe and efficacious, a

new entrant would also incur substantial marketing costs to bring the drug to market and raise

awareness of its availability.

       84.     Biosimilar entry into the relevant markets would not be timely, likely, or

sufficient in magnitude, character, and scope to deter or counteract the anticompetitive effects of

the Proposed Acquisition.

       85.     The complexity of manufacturing Tepezza and Krystexxa could pose a barrier to

potential biosimilar competition.

       86.     Horizon has biologic reference product exclusivity in the United States covering

Tepezza that would prevent biosimilar competition until

       87.     According to Horizon’s documents, Krystexxa’s composition of matter patent

expires in       and its patent estate for Krystexxa expires in        Horizon’s documents

estimate that biosimilar entry could occur in



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       88.     There are currently no manufacturers developing a Krystexxa biosimilar.

       B. Efficiencies

       89.     Defendants cannot demonstrate merger-specific, verifiable, and cognizable

efficiencies sufficient to rebut the evidence of the Proposed Acquisition’s likely anticompetitive

effects. As Amgen acknowledges in one of its own deal documents, this is



                                           VIOLATION

                             COUNT I – ILLEGAL ACQUISITION

       90.     The allegations of Paragraphs 1 through 89 above are incorporated by reference.

       91.     The Proposed Acquisition, if consummated, would be likely to lessen competition

substantially in interstate trade and commerce in each of the markets for (1) the sale of FDA-

approved drugs to treat TED and (2) the sale of FDA-approved drugs to treat CRG throughout the

country in violation of Section 7 of the Clayton Act, 15 U.S.C. § 18.

                     LIKELIHOOD OF SUCCESS ON THE MERITS,
                    BALANCE OF EQUITIES, AND NEED FOR RELIEF

       92.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Commission,

whenever it has reason to believe that a proposed acquisition is unlawful, to seek preliminary

injunctive relief to prevent consummation of the acquisition until the Commission has had an

opportunity to adjudicate the acquisition’s legality in an administrative trial. Section 16 of the

Clayton Act, 15 U.S.C. § 26, authorizes the States of California, Illinois, Minnesota, New York,

Washington, and Wisconsin to sue for and have injunctive relief to prevent threatened loss or
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damage from Defendants’ consummation of the Proposed Transaction.

       93.      In deciding whether to grant relief, the Court must balance the likelihood of

Plaintiffs’ ultimate success on the merits against the public equities. The principal public equity

weighing in favor of issuance of preliminary injunctive relief is the public interest in effective

enforcement of the antitrust laws. Private equities affecting only Defendants’ interest cannot

defeat a preliminary injunction.

       94.      Plaintiffs are likely to succeed in proving that the effect of the Proposed

Acquisition may be substantially to lessen competition or tend to create a monopoly in violation

of Section 7 of the Clayton Act, 15 U.S.C. § 18, or Section 5 of the FTC Act, 15 U.S.C § 45. In

particular, the Commission is likely to succeed in demonstrating, among other things, that:

             a. The Proposed Acquisition would have anticompetitive effects in the United

                States, in a relevant product market of the sale of FDA-approved drugs to treat

                TED;

             b. The Proposed Acquisition would have anticompetitive effects in the United

                States, in a relevant product market of the sale of FDA-approved drugs to treat

                CRG;

             c. Substantial and effective entry or expansion is difficult and would not be timely,

                likely, or sufficient to offset the anticompetitive effects of the Proposed

                Acquisition; and

             d. The efficiencies and procompetitive benefits asserted by Defendants do not justify

                the Proposed Acquisition.

       95.      Preliminary relief is warranted and necessary. Should the Acquisition ultimately be

adjudicated unlawful, reestablishing the status quo ante if the Proposed Acquisition has already

occurred in the absence of preliminary relief would be extremely difficult. Allowing the
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Acquisition to close before the Commission issues an administrative complaint and the

completion of any administrative proceeding would cause irreparable harm by, among other

things, enabling the combined firm to begin altering Horizon’s operations and business plans,

accessing Horizon’s sensitive business information, potentially eliminating Horizon personnel,

and influencing Horizon’s product development efforts. In the absence of relief from this Court,

substantial harm to competition would likely occur in the interim.

       96.      Accordingly, the equitable relief requested here is in the public interest.

Plaintiffs respectfully request that the Court:

             a. Enter the temporary restraining order and preliminarily enjoin Defendants from

                taking any further steps to consummate the Proposed Acquisition and any related

                transactions, stock assets, or acquisition of any other interests of one another

                either directly or indirectly; carrying out any other agreement, understanding, or

                plan by which Amgen would acquire control over Horizon or any of its assets;

             b. Retain jurisdiction and maintain the status quo until the Commission issues an

                administrative complaint and any administrative proceeding initiated by the

                Commission is concluded;

             c. Award Plaintiffs their costs of this action, including attorneys’ fees to the

                Plaintiff States; and

             d. Award such other and further relief as the Court may determine is appropriate,

                just, and proper.




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